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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW HAMPSHIRE


Grace Woodham

      v.                                          Case No. 23-cv-255-JL-AJ

Janet Woodham, et al.


                                    ORDER

      After due consideration of the objection filed by plaintiff’s

counsel, Alexandra Cote, and there being no objection filed by Ms.

Woodham’s co-guardians, Janet Woodham and Robert Woodham, I herewith

approve the Report and Recommendation of Magistrate Judge Andrea K.

Johnstone dated October 2, 2024.     “‘[O]nly those issues fairly raised

by the objections to the magistrate's report are subject to review in

the district court and those not preserved by such objection are

precluded on appeal.’”     School Union No. 37 v. United Nat'l Ins. Co.,

617 F.3d 554, 564 (1st Cir. 2010) (quoting Keating v. Secretary of

Health & Human Servs., 848 F.2d 271, 275 (1st Cir.1988)); see also

United States v. Valencia-Copete, 792 F.2d 4, 6 (1st Cir. 1986) (after

proper notice, failure to file a specific objection to magistrate's

report will waive the right to appeal).


                                            ____________________________
                                            Joseph N. Laplante
                                            United States District Judge

Date: March 10, 2025


cc:   Counsel of Record
